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               IN THE UNITED STATES BANKRUPTCY COURT FOR
                   THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                             CHAPTER 13 CASE NO.:

CHAD CARRINGTON                                               19-13358-JDW

                RESPONSE TO MOTION TO SELL REAL PROPERTY

      COMES NOW Locke D. Barkley, Chapter 13 Trustee, by and through counsel,

and files this response to the Debtor’s Motion to Sell Real Property (Dkt. #86) (the

“Motion”) and in support states as follows:

      1.     The Debtor’s plan was confirmed by order (Dkt. #84) on August 6, 2020,

for a term of 60 months (the “Plan”). Among the claims provided for in the Plan is that

of Planet Home Lending, LLC (“Planet”) which is secured by the Debtor’s residence, the

subject of the Motion.

      2.      While the Trustee has no objection to the sell of the residence, there

should be no change to the claim of Planet or the plan payment until such time as the

residence has been sold.

      3.     The Debtor has claimed an exemption in the subject property in an

amount equal in an amount not to exceed $75,000.00. Any net proceeds remaining

above the exempt amount must be paid to the Trustee.

      4.     The Trustee requests that she be provided with a fully executed HUD-1

Financing Statement following the conclusion of the transaction.

      WHEREFORE, PREMISES CONSIDERED, Locke D. Barkley, Chapter 13 Trustee,

prays that upon notice and hearing that this Court enter its order granting the Debtor’s



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Motion but limited as provided for herein and for such other relief to which the Trustee

and this bankruptcy estate may be entitled.

       Dated: January 4, 2021

                                          Respectfully submitted,
                                          LOCKE D. BARKLEY, TRUSTEE

                                          BY: /s/ W. Jeffrey Collier
                                          W. JEFFREY COLLIER, ESQ.
                                          Attorney for Trustee
                                          6360 I-55 North, Suite 140
                                          Jackson, Mississippi 39211
                                          (601) 355-6661
                                          ssmith@barkley13.com
                                          MSB No. 10645



                                CERTIFICATE OF SERVICE

        I, the undersigned attorney for the Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage prepaid,
or electronically notified through the CM/ECF system, a copy of the above and
foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.

       Dated: January 4, 2021

                                          /s/ W. Jeffrey Collier
                                          W. JEFFREY COLLIER




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